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 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
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     EPSON AMERICA, INC.,                          Case No. 8:23-cv-01735
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                        Petitioner,
14                                                 EPSON AMERICA, INC.’S NOTICE
     v.                                            OF PETITION AND PETITION TO
15                                                 VACATE ARBITRATION AWARD
     KADAKIA INTERNATIONAL, INC.,
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                        Respondent.
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 1                        NOTICE OF PETITION AND PETITION
 2         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE that on date set by the court the matter may be heard,
 4   at the United States District Court for the Central District of California, Southern
 5   Division, Petitioner Epson America, Inc. (“Epson”) will and hereby does move this
 6   Court for an Order, pursuant to Section 10 of the Federal Arbitration Act (“FAA”), 9
 7   U.S.C. section 1 et seq., vacating the arbitration award (“Final Award”) issued
 8   pursuant to the rules of arbitration of the American Arbitration Association, in favor of
 9   Respondent Kadakia International, Inc., in AAA Case No. 01-20-0015-6801.
10         The Court should vacate the Final Award and vacate the judgment pursuant to
11   Section 10 of the FAA because the Court has jurisdiction, the Petition to Vacate was
12   timely filed, and grounds exist to vacate the Final Award. Further, the Court should
13   remand this matter to the American Arbitration Association for an evidentiary hearing
14   before a newly-appointed arbitrator.
15         The Petition to Vacate is supported by the accompanying Memorandum of
16   Points and Authorities, the Declaration of Jack S. Brodsky and such other evidence and
17   argument as may be presented on this Petition to Vacate.
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                        EPSON’S PETITION TO VACATE ARBITRATION AWARD
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 1         Petitioner Epson America, Inc. (“Epson”) hereby petitions this Court to vacate
 2   the July 13, 2023 Amended Final Award (“Final Award”) issued by arbitrator Mary S.
 3   Jones (“Arbitrator”) acting under the Rules of Arbitration of the American Arbitration
 4   Association (“AAA”) in the arbitration proceeding styled Kadakia International, Inc.
 5   v. Epson America, Inc., AAA Case No. 01-20-0015-6801 (the “Arbitration”), which
 6   was issued in favor of Respondent Kadakia International, Inc. (“Kadakia” or
 7   “Respondent”).    Epson further requests that this Court grant such other relief as
 8   necessary, including, but not limited to, remand this matter to the AAA for an
 9   evidentiary hearing before a newly-appointed arbitrator.
10                                      THE PARTIES
11         1.    Petitioner Epson America, Inc. is a California corporation with a principal
12   place of business located at 3131 Katella Ave, Los Alamitos, CA 90720.
13         2.    Respondent Kadakia International, Inc. is a New Jersey corporation with a
14   principal place of business located at 660 Montrose Avenue, South Plainfield, NJ
15   07080.
16                             JURISDICTION AND VENUE
17         3.    The Court has subject matter jurisdiction pursuant to 28 U.S.C. §
18   1332(a)(1) because Epson and Kadakia are citizens of different states, and the amount
19   in controversy—the total amount awarded in Kadakia’s favor in the Arbitrator’s Final
20   Award, which Epson now seeks to vacate—exceeds $75,000.              See Badgerow v.
21   Walters, 142 S. Ct. 1310 (2022).
22         4.    The Court has personal jurisdiction over Kadakia in this action because it
23   agreed to—and did—arbitrate its disputes with Epson in Los Angeles, California. See
24   to the Declaration of Jack S. Brodsky (“Brodsky Decl.”), ¶ 5, Ex. A, Section 8.2.
25         5.    Venue is proper in this District under 9 U.S.C. § 10 as a petition to vacate
26   an award made be made “in and for the district wherein the award was made.”
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 1                                  FACTUAL BACKGROUND
 2   A. Purchase and Sale of the SUREPRESS
 3             6.    Epson is a leading manufacturer in the printer, professional imaging,
 4   projector, scanner, system devices, and factory automation categories. Epson sells its
 5   products across North America. Brodsky Decl., ¶ 4.
 6             7.    In July of 2016, Kadakia inquired about the purchase of an EPSON
 7   Seven-Color SUREPRESS L-4033AW Digital Color Label Press, Rewinder, and
 8   Epson A3 Scanner (“SUREPRESS”). Brodsky Decl., ¶ 6, Ex. B.
 9             8.    The parties thereafter engaged in discussions regarding the SUREPRESS,
10   and on September 6, 2016, Kadakia purchased the SUREPRESS from Epson for a
11   purchase price of $189,500.00 by entering into and executing a Purchase and Service
12   Agreement with Epson, dated September 6, 2016 (the “Agreement”). Brodsky Decl., ¶
13   5, Ex. A.
14   B. The Purchase and Sale Agreement
15             9.    The Agreement contains various warranties on behalf of Epson, as well as
16   certain risk allocation provisions, including limitation of liability provisions. Brodsky
17   Decl., ¶ 5, Ex. A.
18             10.   Specifically, Section 2 of Attachment C to the Agreement sets forth
19   “What is Covered” by Epson’s Limited Warranty of the SUREPRESS. Section 2
20   states:
21                   2. What is Covered. Epson warrants to Company… that
22                   the Equipment, including its hardware and Software, if used
23                   in the United States, will conform to the Specifications and
24                   will be free from defects in workmanship and materials for a
25                   period of one year from installation (the “Warranty Period”).
26   Brodsky Decl., ¶ 5, Ex. A, Attachment C, Section 2.
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 1         11.    The Agreement further adds various issues not covered by the Limited
 2   Warranty set forth in Section 2. Specifically, Section 5 of Attachment C provides, in
 3   relevant part:
 4                5. What This Warranty Does Not Cover. This warranty
 5                does not cover any of the following….
 6                    • Any problem or damage due to the quality of media
 7                      used. This may include, for example, damage to the
 8                      Press’s print head caused by media imperfections such
 9                      as variations in thickness; or by improper storage of
10                      media before use in the Press; or by improper
11                      installation of setting of media in the Press.
12   Brodsky Decl., ¶ 5, Ex. A, Attachment C, Section 5.
13         12.    Additionally, Section 8 of Attachment C includes an express agreement
14   between the Parties that “any action for breach of warranty must be brought within six
15   months after the cause of action arises.” Brodsky Decl., ¶ 5, Ex. A, Attachment C,
16   Section 8.
17         13.    Section 8 also includes a limitation of liability limiting Kadakia’s
18   recoverable damages to the purchase price of the SUREPRESS and prohibiting
19   Kadakia from recovering certain damages, including, but not limited to, lost profits and
20   incidental or consequential damages. Specifically:
21                8. Maximum Liability and Other Terms. Epson’s entire
22                liability for a material breach of this warranty will be limited
23                to the price paid for the Equipment (excluding tax). Any
24                action for breach of warranty must by brought within six
25                months after the cause of action arises. Epson is not liable
26                for performance delays or for nonperformance due to causes
27                beyond its reasonable control. Except as provided in this
28                written warranty, neither Epson, nor its affiliates shall be

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 1               liable for any loss, inconvenience, or damage, including
 2               direct, special, incidental or consequential damages,
 3               including lost profits, cost of substitute equipment,
 4               downtime, claims of third parties, including customers or
 5               injury to property, resulting from the use or inability to use
 6               the Epson products, whether resulting from a breach of
 7               warranty or any other legal theory....
 8   Brodsky Decl., ¶ 5, Ex. A, Attachment C, Section 8.
 9         14.   The terms set forth in Section 8 of Attachment C are mirrored elsewhere
10   in the Agreement as well. Paragraph 7 of the Agreement states:
11               7. Limitation of Liability. IN ANY INSTANCE WHERE
12               COMPANY IS ENTITLED TO RECOVER DAMAGES
13               FROM EPSON OR ANY AFFILIATE, WHETHER
14               BECAUSE OF A DEFAULT BY EPSON UNDER THIS
15               AGREEMENT OR FOR ANY OTHER REASON, THEN,
16               REGARDLESS OF THE BASIS ON WHICH COMPANY
17               IS ENTITLED TO CLAIM DAMAGES (INCLUDING
18               BREACH, NEGLIGENCE, MISREPRESENTATION, OR
19               OTHER      CONTRACT           OR   TORT     CLAIM),      THE
20               MAXIMUM LIABILITY OF ALL EPSON ENTITIES
21               SHALL BE THE PRICE PAID BY COMPANY FOR THE
22               EQUIPMENT (EXCLUDING TAX).                 IN NO EVENT
23               SHALL EPSON OR ITS AFFILIATES BE LIABLE FOR
24               SPECIAL, INCIDENTAL, OR INDIRECT DAMAGES OR
25               FOR ANY ECONOMIC CONSEQUENTIAL DAMAGES
26               (INCLUDING LOST PROFITS OR SAVINGS), EVEN IF
27               INFORMED OF THEIR POSSIBILITY.
28   Brodsky Decl., ¶ 5, Ex. A, Paragraph 7.

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 1            15.   Additionally, Section 7 of Attachment C to the Agreement specifically
 2   disclaims all express or implied warranties not set forth in the Agreement:
 3                  7.    Disclaimer of Warranties and Remedies.           THE
 4                  WARRANTY AND REMEDY PROVIDED IN THIS
 5                  ATTACHMENT ARE EXCLUSIVE AND IN LIEU OF
 6                  ALL OTHER EXPRESSED OR IMPLIED WARRANTIES
 7                  INCLUDING, BUT NOT LIMITED TO, THE IMPLIED
 8                  WARRANTIES OF MERCHANTABILITY, FITNESS
 9                  FOR     A   PARTICULAR           PURPOSE       AND    NON-
10                  INFRINGEMENT.         UNLESS STATED HEREIN, ANY
11                  STATEMENTS OR REPRESENTATION MADE BY ANY
12                  OTHER PERSON OR FIRM ARE VOID.
13   Brodsky Decl., ¶ 5, Ex. A, Attachment C, Section 7.
14            16.   Ultimately, Epson delivered the SUREPRESS to Kadakia at its South
15   Plainfield, New Jersey location in November 2016. Brodsky Decl., ¶ 6, Ex. B.
16            17.   On October 29, 2018, Kadakia sent a demand letter to Epson claiming that
17   “[f]rom the first day of receiving the [SUREPRESS], it never performed as promised.”
18   Specifically, Kadakia alleged that the SUREPRESS did not print on Kadakia’s media
19   and that there were “all types of issues with the media utilized.” Brodsky Decl., ¶ 7,
20   Ex. C.
21            18.   However, contemporaneous records kept in the ordinary course of
22   Epson’s business indicate that Kadakia did, in fact, obtain commercial benefit from the
23   use of the SUREPRESS until it reported issues to Epson in October 2018.
24            19.   For example, Epson’s Remote Monitoring System, which tracked the
25   usage of Kadakia’s SUREPRESS, indicated substantial print volume and ink
26   consumption beginning in 2016 through 2018. Brodsky Decl., ¶ 8, Ex. D.
27            20.   Further, Epson’s email records retained in its SalesForce database confirm
28   that on July 6, 2018, Epson’s Sales Manager, Roy Pagan, wrote to Kadakia that

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 1   Epson’s records indicated it “ha[d] been busy printing on the SurePress.” Brodsky
 2   Decl., ¶ 8, Ex. D.
 3         21.    Additionally, on July 23, 2018, a representative of Kadakia wrote to
 4   Epson: “Things are okay with Surepress. The [rewinder] unit needs some tuning, I
 5   will be placing a service call soon. It prints [] fantastic. Hopefully Mr[.] Kadakia
 6   decides to expand his printing setup soon. Lets [sic] see.” Brodsky Decl., ¶ 8, Ex. D.
 7   C. The New Jersey Litigation
 8         22.    On April 28, 2019, Kadakia filed a complaint in the Superior Court of
 9   New Jersey, contrary to the requirements of the mandatory arbitration provision in the
10   Agreement, asserting six claims against Epson: (1) breach of express warranties; (2)
11   breach of implied warranty; (3) breach of risk of loss; (4) incidental and consequential
12   damages; (5) breach of contract; and (6) common law bad faith and fair dealing. The
13   lawsuit filed by Kadakia was captioned Kadakia International, Inc. v. Epson America,
14   Inc., et al., Docket No. MID-3335-19.
15         23.    On July 12, 2019, the Court entered an Order Granting Epson’s Motion to
16   Dismiss in light of the mandatory arbitration provision in the parties’ Agreement.
17                             ARBITRATION PROCEEDINGS
18   A. Epson’s Motion for Summary Adjudication
19         24.    More than a year later, Kadakia filed a Demand for Arbitration with the
20   AAA on October 26, 2020. In its Demand for Arbitration, Kadakia asserted claims for
21   “[c]ommercial breach of contract, express warranties and implied warranties
22   [r]esulting in incidental and consequential damages.”
23         25.    After an unsuccessful mediation, the parties proceeded with the
24   Arbitration. In an August 25, 2021 Scheduling Order, the Arbitrator ordered that
25   Kadakia, on or before September 17, 2021, “file a detailed statement of claims and all
26   damages being sought with particularity as to each claim, the specific types of
27   damages and exact amount being sought for each, along with the detailed facts and
28   legal basis, in support thereof.” Kadakia did not meet this deadline.

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 1          26.     Kadakia did not file a Detailed Statement of Claim until October 22,
 2   2021, which it later amended on November 8, 2021. Brodsky Decl., ¶ 6, Ex. B.
 3   Kadakia’s belatedly-filed Statement of Claim contains six claims for: 1) breach of
 4   express warranty; 2) breach of implied warranty; 3) effect of breach on risk of loss; 4)
 5   incidental and consequential damages; 5) breach of contract; and 6) common law bad
 6   faith and fair dealings.
 7          27.     Pursuant to Rule R-34 of the AAA Commercial Rules, “[t]he arbitrator
 8   may allow the filing of and make rulings upon a dispositive motion” with the purpose
 9   to “dispose of or narrow the issues in the case.”1 Accordingly, on November 7, 2021,
10   the parties consented and stipulated to the filing of dispositive motions in this dispute
11   (the “Stipulation”). Brodsky Decl., ¶ 9, Ex. E.
12          28.     Pursuant to the Stipulation, the Arbitrator set forth the parties’ dispositive
13   motion briefing schedule in her December 20, 2021 and March 2, 2022 Scheduling
14   Orders, which included the filing of: 1) a joint statement of undisputed facts, 2) a joint
15   stipulation of disputed issues to be resolved, 3) opening brief by a moving party, 4) a
16   response brief, and 5) a reply brief. Brodsky Decl., ¶¶ 10-11, Ex. F & G.
17          29.     At no time did the parties ask the Arbitrator to resolve the entire matter on
18   the briefs.2 Instead, the parties sought summary adjudication of specific legal claims.
19          30.     On April 7, 2022, the parties submitted a Joint List and Statement of
20   Stipulated Issues to be Resolved by Summary Adjudication identifying four legal
21   issues to be resolved by summary adjudication:
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24     Rule R-33 of the AAA Consumer Rules includes similar language.
     2
       While the Arbitrator’s Final Award notes that “[t]he Parties initial request for summary adjudication
25   sought legal and factual determinations relating to the Parties’ competing positions on breach of the
     Agreement, whether Respondent made express warranties about the SUREPRESS, the effect of
26   disclaimer statements in the Parties’ Agreement, and the validity of limitations on damages for breach
     of the Parties’ Agreement,” this statement is belied by the procedural history of this case, as well as
27   the very nature of the legal issues before the Arbitrator and recited in the foregoing sentence. There
     can be no dispute that Epson’s motion for summary adjudication sought resolution of four legal
28   issues and did not invite the Arbitrator to make determinations of fact.

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 1             i.   Whether Kadakia’s claim3 that the SUREPRESS was purportedly unable
 2                  to print on Kadakia’s intended media constitutes a breach of the
 3                  Agreement between the Parties?
 4            ii.   Whether Epson’s statements prior to the execution of the Agreement
 5                  amount to an express warranty that the SUREPRESS would print on
 6                  Kadakia’s intended media?
 7           iii.   Whether the Agreement (see Attachment C, Section 7 of the Agreement)
 8                  effectively disclaims any implied warranties or representations not
 9                  incorporated in the Agreement?
10           iv.    Whether the limitation of liability provisions of the Agreement (see
11                  Paragraph 7 and Attachment C, Section 8 of the Agreement) effectively
12                  limit Kadakia’s recoverable damages to the price it paid for the
13                  SUREPRESS?
14   Brodsky Decl., ¶ 12, Ex. H.
15          31.     The parties believed that resolution of these specific legal issues would
16   assist in narrowing the scope of the issues and assist in efforts to settle the dispute.
17          32.     On April 14, 2022, the parties submitted a Joint Stipulation of Undisputed
18   Facts identifying only three undisputed facts relevant to deciding the legal issues and
19   attaching the operative Purchase and Sale Agreement:
20             i.   On September 6, 2016, Kadakia purchased the SUREPRESS from Epson
21                  for a purchase price of $189,500.00.
22            ii.   The parties entered into and executed a Purchase and Service Agreement
23                  with Epson, dated September 6, 2016….
24           iii.   Epson delivered the SUREPRESS to Kadakia at its South Plainfield, New
25                  Jersey location in November 2016.
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27   3
       As the language makes clear, at no time did Epson concede that Kadakia’s claim was true. Indeed,
     it is undisputed that the Parties were simply asking the Arbitrator to make a legal ruling whether the
28   claim itself was legally sufficient to support a breach of contract claim.

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 1   Brodsky Decl., ¶ 13, Ex. I.
 2         33.    Based upon these undisputed facts, Epson submitted its Opening Brief in
 3   Support of Motion for Summary Adjudication on April 28, 2022. Brodsky Decl., ¶ 14,
 4   Ex. J. The crux of Epson’s argument was that, based upon the undisputed facts of the
 5   case, no triable issue of fact existed as to Kadakia’s causes of action, the Arbitrator
 6   could decide each of the four disputed legal issues in Epson’s favor, and, accordingly,
 7   Epson was entitled to judgment on each of Kadakia’s claims as a matter of law.
 8         34.    The entire process discussed above, culminating in Epson’s Opening
 9   Brief, was designed to resolve identified issues as a matter of law. For example,
10   Epson contended that the alleged statement “It works fine” could never, as a matter of
11   law, be an express warranty. At no time did Epson invite the Arbitrator to make
12   factual determinations. Instead, the parties only sought legal determinations needed to
13   assist in narrowing the scope of the dispute.
14   B. The Arbitrator’s Order and Final Award
15         35.    On August 18, 2022, the Arbitrator issued her Ruling on the Parties’
16   Stipulated Requests for Summary Adjudication (the “Order”). Brodsky Decl., ¶ 15,
17   Ex. K.
18         36.    The Arbitrator’s Order unquestionably exceeded the scope of authority
19   granted by the parties, as she resolved factual issues in dispute and entered judgment
20   on liability in Kadakia’s favor. Beyond the three undisputed facts jointly submitted by
21   the parties, Epson was never afforded an opportunity to put its evidence into the record
22   for the Arbitrator’s consideration.
23         37.    Despite not affording Epson an opportunity to submit evidence, the
24   Arbitrator’s Order clearly—and improperly—made a number of factual findings.
25         38.    For example, Kadakia alleged in its Detailed Statement of Claim that
26   “[t]he SUREPRESS was unable to print on the media intended as initially promised by
27   Epson.” Epson denied the allegation in its Answering Statement, creating a factual
28   dispute. Despite this, the Arbitrator concluded in her Order:

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 1                 There is no dispute the SUREPRESS did not work with
 2                 Kadakia 120ASBX [sic] media.
 3   Brodsky Decl., ¶ 15, Ex. K, at 6-7 (emphasis added).
 4         39.     Epson never conceded that the SUREPRESS did not work with Kadakia’s
 5   intended media in its briefing, arguing that evidence in the record confirmed that the
 6   SUREPRESS did work for nearly two years after delivery. Epson’s argument on
 7   summary adjudication was that, notwithstanding any purported issues with the
 8   SUREPRESS, Kadakia’s breach of contract failed as a matter of law because the
 9   parties’ Agreement contained an express disclaimer of any promise that the
10   SUREPRESS would work on certain media.
11         40.     The Arbitrator’s premature decision regarding the factual issue at the
12   heart of the parties’ dispute was improper.
13         41.     The Arbitrator made a number of improper factual findings in her Order,
14   including:
15            i.   “The evidence presented about Kadakia’s requirement for the
16                 SUREPRESS is not vague. The emails between the Parties clearly
17                 establish that Claimant sought a determination prior to purchasing the
18                 SUREPRESS, as to whether Kadakia’s 210ASBX media will work on the
19                 printer Mr. Kadakia was interested in purchasing.” Brodsky Decl., ¶ 15,
20                 Ex. K, at 6.
21           ii.   “[I]t would seem that if anyone knew or should have known that a
22                 substrate of 2 mil did not meet the SUREPRESS specification, it would
23                 have been Epson, who wrote the specifications and Mr. Gomez, since he
24                 was actually told by Mr. Kadakia on July 27, 2016, that Kadakia was
25                 sending 210ASBX media to Epson for testing.” Brodsky Decl., ¶ 15, Ex.
26                 K, at 6.
27          iii.   “The evidence indicates, Kadakia relied upon Mr. Gomez’s positive
28                 affirmative that Kadakia’s 210ASBX media “worked fine” with the

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 1                SUREPRESS, and thereafter Kadakia purchased the SUREPRESS based
 2                upon such representation.” Brodsky Decl., ¶ 15, Ex. K, at 6.
 3          iv.   “The facts clearly show that Epson made a contradictory express
 4                warranty, thus Epson’s disclaimer of express warranties found in the
 5                Agreement is unreasonable under Cal. Com. Code § 2313 and,
 6                unenforceable.” Brodsky Decl., ¶ 15, Ex. K, at 6.
 7          v.    “[I]t has already been determined Epson made affirmative representations
 8                in the form of an express warranty that went to the basis of Claimant’s
 9                bargain, leading to Kadakia’s decision to purchase the SUREPRESS.
10                Such express warranties were not accurate.” Brodsky Decl., ¶ 15, Ex. K,
11                at 9.
12         42.    Again, Epson’s motion for summary adjudication did not invite the
13   Arbitrator to make factual findings.     It is undisputed that the parties only submitted
14   three undisputed facts for purposes of the motion.
15         43.    If the Arbitrator found there to be factual issues in dispute—which is clear
16   from the Order that she did—then the Arbitrator’s sole course of action was to deny
17   Epson’s motion and set the dispute for an evidentiary hearing.
18         44.    By making determinations of fact at the summary judgment phase, the
19   Arbitrator’s Order precluded Epson—as well as Kadakia—from presenting and cross-
20   examining critical witnesses during an evidentiary hearing to determine the credibility
21   of the evidence in the record.
22         45.    For example, critical to the Arbitrator’s decision was:
23                The evidence indicates, Kadakia relied upon Mr.
24                Gomez’s positive affirmative that Kadakia’s 210ASBX
25                media ‘worked fine’ with the SUREPRESS, and
26                thereafter Kadakia purchased the SUREPRESS based
27                upon such representation.
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 1   Brodsky Decl., ¶ 15, Ex. K, at 6. However, the Arbitrator did not allow for
 2   examination and cross-examination of key witnesses in this case, including Mr.
 3   Kadakia and Mr. Gomez. The Arbitrator did not allow for witness testimony and/or
 4   cross-examination to determine 1) what Mr. Kadakia understood and/or how he relied
 5   upon Mr. Gomez’s statement; and 2) what Mr. Gomez meant by that statement and/or
 6   the context surrounding that statement.
 7            46.   Following issuance of her Order, the Arbitrator sought briefing and oral
 8   argument on “remaining issues,” including a determination of damages and the amount
 9   of attorneys’ fees and costs.
10            47.   After submitting opening briefs as to the total award, oral argument was
11   scheduled and conducted on December 12, 2022. As Kadakia failed to support its
12   motion for total award, the Arbitrator allowed Kadakia additional briefing and
13   continued oral argument on the issue. During the December 12, 2022 hearing, counsel
14   for Epson requested a hearing on whether the Arbitrator exceeded her authority by
15   making improper factual determinations in her Order. Brodsky Decl., ¶ 16, Ex. L, at p.
16   4 n.7.
17            48.   On January 18, 2023, Epson submitted a letter motion requesting “that the
18   portion of the Arbitrator’s Order that relied upon the Arbitrator’s improper factual
19   determinations be vacated, and this matter be scheduled for an evidentiary hearing to
20   resolve the outstanding factual disputes relating to Kadakia’s claims.” Brodsky Decl.,
21   ¶ 17, Ex. M. Kadakia opposed Epson’s letter motion.
22            49.   On January 20, 2023, the Parties submitted a Joint List of Remaining
23   Issues to be Resolved, which included the following:            “[w]hether the arbitrator
24   exceeded her authority in making improper factual determinations in adjudicating the
25   motion for summary adjudication.” Brodsky Decl., ¶ 18, Ex. N.
26            50.   Following supplemental briefing as to the total award, additional oral
27   argument was held February 16, 2023.             During the hearing, Epson reiterated its
28   objection to the Arbitrator’s Order and repeatedly requested that it be permitted to

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 1   submit its contrary evidence into the record for the Arbitrator’s consideration. See
 2   Brodsky Decl., ¶ 19.
 3         51.    Epson’s requests to submit its evidence and for reconsideration of the
 4   Arbitrator’s Order were repeatedly denied.
 5         52.    The Arbitrator issued her Final Award on June 19, 2023. Brodsky Decl., ¶
 6   20, Ex. O.     However, because the Arbitrator’s Final Award contained numerous
 7   grammatical and clerical errors, including failing to include a total final award,
 8   Kadakia requested clarification from the Arbitrator.
 9         53.    The Arbitrator issued an Amended Final Award on July 13, 2023.
10   Brodsky Decl., ¶ 16, Ex. L.
11         54.    The Arbitrator’s Amended Final Award awarded Kadakia $258,075.00,
12   including 1) damages, 2) reasonable attorneys’ fees, and 3) costs.
13         55.    However, because the Arbitrator’s Order made improper factual
14   determinations, and, in so doing, the Arbitrator precluded Epson from presenting
15   critical evidence, including witness testimony, regarding the central factual disputes in
16   the case, the Final Award must be vacated pursuant to 9 U.S.C. § 10.
17                                 FIRST CAUSE OF ACTION
18                               (Vacatur of Arbitration Award)
19         56.    Epson repeats and realleges the allegations contained in the foregoing
20   paragraphs as if fully set forth herein.
21         57.    As set forth above, Epson was a party to the Arbitration and was
22   prejudiced by the Arbitrator, who made improper factual determinations in ruling on
23   Epson’s Motion for Summary Adjudication and precluded Epson from presenting
24   critical evidence pertinent and material to the controversy.
25         58.    Pursuant to 9 U.S.C. § 10, the Arbitrator’s Final Award must be vacated.
26         59.    Epson has brought this application within 90 days of the delivery of the
27   Final Award on July 13, 2023.
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 1         60.      By reason of the foregoing, Epson is entitled to an order vacating the
 2   Final Award pursuant to 9 U.S.C. § 10, and a rehearing and determination of the
 3   arbitrated claims before a different arbitrator or arbitrators.
 4                                    PRAYER FOR RELIEF
 5         WHEREFORE, for the reasons stated herein, and in Epson’s memorandum of
 6   law filed in support hereof, Epson America, Inc. respectfully requests that this Court
 7   enter an Order and Judgment pursuant to 9 U.S.C. § 10:
 8         a) Vacating the Amended Final Award dated July 13, 2023;
 9         b) Granting a rehearing and determination of the arbitrated claims before a
10               newly-appointed arbitrator or arbitrators; and
11         c) Granting such other and further relief as the Court may deem just and proper.
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                                                   K&L GATES LLP
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     Dated: September 18, 2023                By: /s/ Damon M. Pitt
                                                 Attorney for Petitioner
17                                               Epson America, Inc.

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                           EPSON’S PETITION TO VACATE ARBITRATION AWARD
